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      STATEMENT OF UNDISPUTED MATERIAL FACTS IN
   SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT



                    Exhibit 2
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    (Northern Division)

 DAVID J. BOSHEA                                     *

          Plaintiff/Counter-Defendant,               *

          v.                                         *
                                                             Case No. 1:21-CV-00309-ELH
 COMPASS MARKETING, INC.                             *

          Defendant/Counter-Plaintiff.               *

                                                     *
 *        *       *       *      *       *       *       *      *       *       *      *     *

                          DECLARATION OF GREGORY J. JORDAN

I, Gregory J. Jordan, declare as follows:

1. Attached as Exhibit A is a true and accurate copy of the transcript of the Deposition of Daniel

     White dated December 1, 2021.

2. Attached as Exhibit B is a true and accurate copy of the transcript of the Deposition of John

     White dated May 18, 2022.

3. Attached as Group Exhibit C are true and correct screenshots of the properties of the May 22,

     2007 email attachment about which Daniel White testified in his November 29, 2021

     deposition. To capture all of the information on the page, I took two screenshots of the

     properties page of that document, which together reflect all of the properties.

4. Attached as Exhibit D is a true and accurate copy of Defendant Compass Marketing, Inc’s

     Answers to Plaintiff David J. Boshea’s First Set of Interrogatories dated August 9, 2021.

5. Attached as Exhibit A is a true and accurate copy of the transcript of the Deposition of John

     Adams dated October 28, 2021.

6. Attached as Exhibit D is a true and accurate copy of the transcript of the Deposition of Michael

     White dated December 1, 2021.
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7. Attached as Exhibit F are Defendant Compass Marketing, Inc.’s Responses to Plaintiff David J.

   Boshea’s First Set of Requests for Production of Documents, including on pages 156-230, the

   payroll register Compass produced in discovery reflecting amounts paid to David Boshea.

8. Compass did not produce in discovery a version of John Adams’ severance agreement signed

   by Compass’ representative.

       Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury under the laws of the United

States of America that my statements are true and correct.

Dated: July 31, 2022                 /s/ Gregory J. Jordan
                                         Gregory J. Jordan
